Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.202 Filed 03/29/22 Page 1 of 21




                     Exhibit 9
     Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.203 Filed 03/29/22 Page 2 of 21




              Exhibit 9
Claim 13 of U.S. Patent No. 10,075,941




                                         1
                              Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.204 Filed 03/29/22 Page 3 of 21
                                                         U.S. Patent No. 10,075,941: Claim 13(a)
       "13. A mobile station served by a serving base station in an Orthogonal Frequency Division Multiplexing (OFDM) communication system,"
13. A mobile station served by a serving     Ford’s Accused Products include vehicles equipped with components and/or devices that enable connectivity
base station in an Orthogonal Frequency      to 4G/LTE networks and services, including services sold and provided by Ford.
Division Multiplexing (OFDM)
communication system,                        To the extent the preamble is considered a limitation, Ford’s Accused Products meet the preamble of the ’941
                                             patent. E.g.,

                                            The LTE specification (Series 36, Release 8) specifies user equipments (UEs) receiving downlink control
                                            information.

                                            For example, release 8 of the 36 series 3GPP specifications was frozen in December of 2008 and that release
                                            was used as the basis for the first wave of LTE equipment. The LTE marketplace currently supports a mix of
                                            releases from Release 8 through Release 15. For ease of review release 8 of the LTE specification is cited
                                            below, but similar cites are available for each corresponding release on the market.

                                            LTE uses orthogonal frequency division multiplexing (OFDM) for downlink and uplink transmissions.




                                            See e.g., 3GPP TS 36.201 V8.3.0 at pgs. 7-8.

                                            LTE downlink transmission use OFDM.




                                                                           2
                       Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.205 Filed 03/29/22 Page 4 of 21
                                                  U.S. Patent No. 10,075,941: Claim 13(a)
"13. A mobile station served by a serving base station in an Orthogonal Frequency Division Multiplexing (OFDM) communication system,"




                                    See e.g., 3GPP TS 36.300 V8.12.0 at pg. 25

                                    LTE uplink transmissions use discrete Fourier transform spread OFDM (DFTS-OFDM).




                                                                  3
                       Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.206 Filed 03/29/22 Page 5 of 21
                                                  U.S. Patent No. 10,075,941: Claim 13(a)
"13. A mobile station served by a serving base station in an Orthogonal Frequency Division Multiplexing (OFDM) communication system,"




                                    See e.g., 3GPP TS 36.300 V8.12.0 at pgs. 27-28.




                                                                  4
                               Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.207 Filed 03/29/22 Page 6 of 21
                                                        U.S. Patent No. 10,075,941: Claim 13(b)
 "the communication system utilizing a transmission structure with time slots in the time domain and frequency subchannels in the frequency domain, the
                                                  mobile station comprising a receiver configured to:"
the communication system utilizing a        Ford’s Accused Products are served by a base station in a communication system that utilizes a transmission
transmission structure with time slots in   structure with time slots in the time domain and frequency subchannels in the frequency domain, the mobile
the time domain and frequency               station comprising a receiver. E.g.,
subchannels in the frequency domain, the
mobile station comprising a receiver        LTE networks use a frame structure having time slots, such as Frame structure type 1 for FDD.
configured to:




                                            See e.g., 3GPP TS 36.211 V8.9.0 at pgs. 9-10.


                                            An LTE base station, e.g., an eNodeB assigns a set of physical resource blocks (PRBs), forming a subchannel,
                                            to a UE for downlink transmission.




                                            See e.g., 3GPP TS 36.300 V8.12.0 at pg. 67.
                                                                           5
                           Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.208 Filed 03/29/22 Page 7 of 21
                                                       U.S. Patent No. 10,075,941: Claim 13(b)
"the communication system utilizing a transmission structure with time slots in the time domain and frequency subchannels in the frequency domain, the
                                                 mobile station comprising a receiver configured to:"

                                           Each PRB has 12 or 24 subcarriers in the frequency domain.




                                           See e.g., 3GPP TS 36.211 V8.9.0 at pgs. 46 and 47.


                                                                          6
                               Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.209 Filed 03/29/22 Page 8 of 21
                                                        U.S. Patent No. 10,075,941: Claim 13(c)
                                "receive a control message from the serving base station over a control channel, wherein:"
receive a control message from the serving Ford’s Accused Products receive a control message from the serving base station over a control channel. E.g.,
base station over a control channel,
wherein:                                     The resource assignment is sent to the UE over a physical downlink control channel (PDCCH).




                                             ...


                                             ...




                                            See e.g., 3GPP TS 36.300 V8.12.0 at pgs. 23-24.

                                            The PDCCH carries downlink control information (DCI), a control message.




                                                                                          ...




                                            See e.g., 3GPP TS 36.212 V8.8.0 at pg. 8.




                                                                          7
Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.210 Filed 03/29/22 Page 9 of 21
                         U.S. Patent No. 10,075,941: Claim 13(c)
 "receive a control message from the serving base station over a control channel, wherein:"




              See e.g., 3GPP TS 36.212 V8.8.0 at pg. 43.




                                             8
                             Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.211 Filed 03/29/22 Page 10 of 21

                                                         U.S. Patent No. 10,075,941: Claim 13(d)
   "the control message contains transmission parameters specific to the mobile station for a subsequent transmission by the serving base station over a
                                             frequency subchannel to the mobile station in a time slot; and"
the control message contains transmission The control message received by Ford’s Accused Products contains transmission parameters specific to the
parameters specific to the mobile station    mobile station for a subsequent transmission by the serving base station over a frequency subchannel to the
for a subsequent transmission by the         mobile station in a time slot. E.g.,
serving base station over a frequency
subchannel to the mobile station in a time The DCI includes scheduling information for a physical downlink shared channel (PDSCH) transmission.
slot; and




                                             See e.g., 3GPP TS 36.212 V8.8.0 at pg. 43.

                                             The PDSCH is transmitted in a subframe having two time slots.




                                             See e.g., 3GPP TS 36.213 V8.8.0 at pg. 19.

                                             DCI format 2 has parameters such as a resource block assignment and precoding.




                                                                            9
                           Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.212 Filed 03/29/22 Page 11 of 21

                                                     U.S. Patent No. 10,075,941: Claim 13(d)
"the control message contains transmission parameters specific to the mobile station for a subsequent transmission by the serving base station over a
                                          frequency subchannel to the mobile station in a time slot; and"




                                                                         10
                           Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.213 Filed 03/29/22 Page 12 of 21

                                                     U.S. Patent No. 10,075,941: Claim 13(d)
"the control message contains transmission parameters specific to the mobile station for a subsequent transmission by the serving base station over a
                                          frequency subchannel to the mobile station in a time slot; and"




                                          See e.g., 3GPP TS 36.212 V8.8.0 at pg. 47.

                                          The DCI is sent in the beginning of the subframe in the control region.




                                          See 4G LTE-Advanced Pro and The Road to 5G, Third Edition, Dahlman et al..


                                                                         11
                           Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.214 Filed 03/29/22 Page 13 of 21

                                                     U.S. Patent No. 10,075,941: Claim 13(d)
"the control message contains transmission parameters specific to the mobile station for a subsequent transmission by the serving base station over a
                                          frequency subchannel to the mobile station in a time slot; and"
                                          The PDSCH is sent after the control region OFDM symbols.




                                          See e.g., 3GPP TS 36.211 V8.9.0 at pg. 55.




                                                                         12
                             Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.215 Filed 03/29/22 Page 14 of 21

                                                          U.S. Patent No. 10,075,941: Claim 13(e)
" the mobile station-specific transmission parameters indicate an antenna transmission scheme and a corresponding subchannel configuration, the antenna
 transmission scheme comprising a transmission diversity scheme or a multiple-input multiple-output (MIMO) scheme and the corresponding subchannel
                       configuration characterized by distributed subcarriers or localized subcarriers in the frequency domain; and"
the mobile station-specific transmission      The mobile station-specific transmission parameters indicate an antenna transmission scheme and a
parameters indicate an antenna                corresponding subchannel configuration, the antenna transmission scheme comprising a transmission diversity
transmission scheme and a corresponding scheme or a multiple-input multiple-output (MIMO) scheme and the corresponding subchannel configuration
subchannel configuration, the antenna         characterized by distributed subcarriers or localized subcarriers in the frequency domain. E.g.,
transmission scheme comprising a
transmission diversity scheme or a            LTE uses multiple-input multiple-output for downlink transmissions.
multiple-input multiple-output (MIMO)
scheme and the corresponding subchannel
configuration characterized by distributed
subcarriers or localized subcarriers in the
frequency domain; and




                                            See e.g., 3GPP TS 36.300 V8.8.0 at pg. 26.

                                            DCI format 2 includes a resource block assignment, subchannel configuration, and precoding information,
                                            antenna transmission scheme. For the precoding information, an index value of 0 indicates transmission
                                            diversity, and an index, such as 2, indicates a MIMO scheme.




                                                                          13
                             Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.216 Filed 03/29/22 Page 15 of 21

                                                         U.S. Patent No. 10,075,941: Claim 13(e)
" the mobile station-specific transmission parameters indicate an antenna transmission scheme and a corresponding subchannel configuration, the antenna
transmission scheme comprising a transmission diversity scheme or a multiple-input multiple-output (MIMO) scheme and the corresponding subchannel
                       configuration characterized by distributed subcarriers or localized subcarriers in the frequency domain; and"




                                                                          14
                             Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.217 Filed 03/29/22 Page 16 of 21

                                                         U.S. Patent No. 10,075,941: Claim 13(e)
" the mobile station-specific transmission parameters indicate an antenna transmission scheme and a corresponding subchannel configuration, the antenna
transmission scheme comprising a transmission diversity scheme or a multiple-input multiple-output (MIMO) scheme and the corresponding subchannel
                       configuration characterized by distributed subcarriers or localized subcarriers in the frequency domain; and"




                                             ...




                                             ...




                                                                          15
                             Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.218 Filed 03/29/22 Page 17 of 21

                                                         U.S. Patent No. 10,075,941: Claim 13(e)
" the mobile station-specific transmission parameters indicate an antenna transmission scheme and a corresponding subchannel configuration, the antenna
transmission scheme comprising a transmission diversity scheme or a multiple-input multiple-output (MIMO) scheme and the corresponding subchannel
                       configuration characterized by distributed subcarriers or localized subcarriers in the frequency domain; and"




                                                                ...              ...              ...           ...

                                            See e.g., 3GPP TS 36.212 V8.8.0 at pgs. 49-52.


                                            The number of enabled codewords is determined from the modulation and coding scheme and redundancy
                                            version fields for the corresponding transport block.



                                            See e.g., 3GPP TS 36.213 V8.8.0 at pg. 26.


                                                                          16
                             Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.219 Filed 03/29/22 Page 18 of 21

                                                         U.S. Patent No. 10,075,941: Claim 13(e)
" the mobile station-specific transmission parameters indicate an antenna transmission scheme and a corresponding subchannel configuration, the antenna
transmission scheme comprising a transmission diversity scheme or a multiple-input multiple-output (MIMO) scheme and the corresponding subchannel
                       configuration characterized by distributed subcarriers or localized subcarriers in the frequency domain; and"

                                            Resource allocation type 0 indicates the resource block groups assigned to the UE using a bit map. The bit
                                            map indicates whether adjacent resource block groups are used, localized subcarriers, or whether non-adjacent
                                            resource block groups are used, distributed subcarriers.




                                            See e.g., 3GPP TS 36.213 V8.8.0 at pgs. 22 and 23.




                                                                          17
                             Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.220 Filed 03/29/22 Page 19 of 21

                                                         U.S. Patent No. 10,075,941: Claim 13(e)
" the mobile station-specific transmission parameters indicate an antenna transmission scheme and a corresponding subchannel configuration, the antenna
transmission scheme comprising a transmission diversity scheme or a multiple-input multiple-output (MIMO) scheme and the corresponding subchannel
                       configuration characterized by distributed subcarriers or localized subcarriers in the frequency domain; and"




                                            See e.g., 3GPP TS 36.213 V8.8.0 at pg. 23.




                                                                          18
                             Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.221 Filed 03/29/22 Page 20 of 21


receive a data packet transmitted by the   Ford’s Accused Products receives a data packet transmitted by the serving base station using the mobile
serving base station using the mobile      station-specific transmission parameters over the frequency subchannel. E.g.,
station-specific transmission parameters
over the frequency subchannel.             The UE receives the downlink data over the assigned PDSCH.




                                           See e.g., 3GPP TS 36.213 V8.8.0 at pg. 19.


                                           The assigned PDSCH has one or two code words, a data packet.




                                                                         19
Case 2:22-cv-11402-TGB ECF No. 1-9, PageID.222 Filed 03/29/22 Page 21 of 21




            See e.g., 3GPP TS 36.211V8.8.0 at pgs. 49-50.




                                         20
